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                       UNITED STATES DISTRICT
                      COURT FOR THE DISTRICT OF
                             COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
     v.                                   : CRIMINAL NO. 1:21-CR-00608 (RCL)
                                          :
JUSTIN MCAULIFFE,                         :
     Defendant.                           :


UNITED STATES’ RESPONSE TO DEFENDANT’S FIRST MOTION TO TRAVEL

    The United States has no objections to the defendant’s request to travel.

                                Respectfully submitted,

                                          MATTHEW GRAVES
                                          United States Attorney

                                   By:    /s/ Jacob J. Strain
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